                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

     CREOLA COTTON,                                    §
           Plaintiff,                                  §
                                                       §
     v.                                                §         Civil Action No. 4:19-cv-00730
                                                       §         Judge Mazzant
                                                       §
     KROGER TEXAS L.P., D/B/A KROGER                   §
          Defendant.                                   §         JURY DEMANDED

                            AGREED ORDER OF DISMISSAL WITH PREJUDICE

           The Court has been advised by the parties that all matters in controversy between Plaintiff

    Creola Cotton and Defendant Kroger Texas, L.P., d/b/a Kroger have been fully and completely

    compromised and settled and that Plaintiff no longer desires to pursue this cause or any claims

    related to this cause against Defendant. Therefore, the Court is of the opinion that this case

    should be dismissed with prejudice to the refiling of it.

           IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that that Plaintiff’s claims against

    Defendant Kroger Texas, L.P., d/b/a Kroger in this action be dismissed with prejudice against

    the refiling of same, each party to pay their own court costs.
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           All relief not previously granted is hereby denied.

           The Clerk is directed to close this civil action.

           IT IS SO ORDERED.

            SIGNED this 1st day of July, 2020.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES DISTRICT JUDGE
